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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,                     CASE NO: 10-20108-01

v.                                    DISTRICT JUDGE THOMAS L. LUDINGTON
                                      MAGISTRATE JUDGE CHARLES E. BINDER
DANN CORNELIUS GRIESBECK,

       Defendant.
                                /


                     MAGISTRATE JUDGE’S REPORT, FINDINGS AND
                    RECOMMENDATION CONCERNING PLEA OF GUILTY


I.     REPORT AND FINDINGS

       This case was referred to the undersigned Magistrate Judge pursuant to 28

U.S.C. §§ 636(b)(1)(B) and 636(b)(3) for purposes of receiving, on consent of the

parties, Defendant’s offer of a plea of guilty. Defendant, along with counsel, appeared

before me on February 9, 2011. In open court, I examined Defendant under oath,

confirmed Defendant’s consent, and then advised and questioned Defendant

regarding each of the inquiries prescribed by Rule 11(b) of the Federal Rules of

Criminal Procedure.

       Based upon Defendant’s answers and demeanor, I HEREBY FIND: (1) that

Defendant is competent to tender a plea; (2) that Defendant’s plea was knowingly,

intelligently made; and (3) that the offense to which Defendant pleaded guilty is

supported by an independent basis in fact containing each of the essential elements of


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the offense(s). Therefore, I have ordered the preparation of a presentence

investigation report.




II.      RECOMMENDATION

         For the reasons set forth above, IT IS RECOMMENDED that, subject to the

Court’s consideration of the plea agreement pursuant to Rule 11(c) of the Federal

Rules of Criminal Procedure, Defendant’s plea be accepted, Defendant be adjudged

guilty, and the Court impose sentence.



III.     REVIEW

         Pursuant to Rule 72(b)(2) of the Federal Rules of Civil Procedure, “[w]ithin 14

days after being served with a copy of the recommended disposition, a party may

serve and file specific written objections to the proposed findings and

recommendations. A party may respond to another party’s objections within 14 days

after being served with a copy.” FED.R.CIV.P. 72(B)(2). See also 28 U.S.C. §

636(b)(1). Failure to file specific objections constitutes a waiver of any further right of

appeal. Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed.2d 435 (1985);

Howard v. Sec’y of Health & Human Servs., 932 F.2d 505 (6th Cir. 1991); United

States v Walters, 638 F.2d 947 (6th Cir. 1981). The parties are advised that making

some objections, but failing to raise others, will not preserve all the objections a party

may have to this Report and Recommendation. Willis v. Sec’y of Health & Human

Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v Detroit Fed’n of Teachers Local 231,

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829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of

any objections is to be served upon this Magistrate Judge.




                                                    s/ C  harles`EB       inder
                                                   CHARLES E. BINDER
Dated: February 9, 2011                            United States Magistrate Judge



                                      CERTIFICATION

       I hereby certify that this Report and Recommendation was electronically filed this date,
electronically served on Shane Waller and James Thomas, and served on District Judge
Ludington in the traditional manner.

Date: February 9, 2011                   By    s/Jean L. Broucek
                                         Case Manager to Magistrate Judge Binder




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